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                          IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF GEORGIA
                                     MACON DIVISION

  TRANICE THOMAS,

          Plaintiff,                                                Civil Action No.:

  v.
                                                                    5:20-cv-00455
  ALL CARE HOME HEALTH, LLC,

          Defendant.                                         JURY TRIAL DEMANDED

                                          COMPLAINT

       COMES NOW, Plaintiff Tranice Thomas and brings this action pursuant to Title VII of

the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq. and the Fair Labor Standards

Act, 29 U.S.C. § 201, et seq. Plaintiff alleges that Defendant All Care Home Health, LLC subjected

her to harassment based on sex and retaliation after she engaged in protected activities and failed

to pay her overtime, showing the Court as follows:

                                 JURISDICTION AND VENUE

                                                 1.

       This Court has original jurisdiction over the subject matter of this civil action pursuant to

Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-5, 28 U.S.C. § 1331, and 28 U.S.C.

§ 1343.

                                                 2.

       Venue is proper in this judicial district under 42 U.S.C. § 2000e-5(f)(3) and 28 U.S.C. §

1391 because Plaintiff was employed and the events underlying this action occurred in Macon-

Bibb County, Georgia, which is located in this judicial district.




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                                           PARTIES

                                                3.

       Plaintiff Tranice Thomas (hereinafter, “Plaintiff” or “Thomas”) is a citizen of the United

States and a resident of Georgia. At all times relevant to this suit, Ms. Thomas was employed with

Defendant All Care Home Health, LLC.

                                                4.

       At all relevant times, Ms. Thomas was considered a covered, non-exempt employee under

Title VII of the Civil Rights Act and the Fair Labor Standards Act.

                                                5.

       Defendant All Care Home Health, LLC (hereinafter, “Defendant”) is a domestic limited

liability company, organized under the laws of the State of Georgia.

                                                6.

       Defendant’s principal office address is 5797 Houston Road, Suite F, Macon, Bibb County,

Georgia 31216, and Defendant may be served with process through its registered agent, Allen G.

Freeman at 5797 Houston Road, Suite F, Macon, Bibb County, Georgia 31216.

                                                7.

       Defendant is a private employer engaged in interstate commerce, with annual revenue in

excess of $500,000. Defendant has more than fifteen employees who have worked for at least

twenty calendar weeks in 2020 and proceeding years. Defendant provides in-home care services

to the elderly and adults with developmental disabilities in their homes and several residential

facilities throughout Middle Georgia.




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                                                 8.

          Defendant is a covered entity and employer within the meaning of Title VII of the Civil

Rights Act and a covered enterprise within the meaning of the Fair Labor Standards Act.

                                    STATEMENT OF FACTS

                                                 9.

          Plaintiff hereby pleads and incorporates by reference all of the allegations contained in

Paragraphs 1 through 8, as if the same were set forth herein.

                                                 10.

          Ms. Thomas began her employment with Defendant in February 2019, where she worked

as a caregiver or “Personal Care Assistant.”

                                                 11.

          As a Personal Care Assistant, almost all of Ms. Thomas’ duties were the provision of care

for adults with developmental disabilities such as assisting such persons with Activities of Daily

Living.

                                                 12.

          Specifically, Ms. Thomas would assist residents with Activities of Daily Living like

dressing, grooming, feeding, bating, and toileting.

                                                 13.

          According to Defendant’s Employee Handbook, hourly workers are eligible for overtime.

                                                 14.

          Defendant requires its employees to sign an agreement, providing that employees were

permitted to work in excess of 40 hours per work week, but would be paid at a rate less than their

regular hourly rate for all such overtime.




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                                             15.

       Ms. Thomas never signed any agreement regarding overtime pay.

                                             16.

       Ms. Thomas was compensated on an hourly basis at the rate of $9.00 per hour.

                                             17.

       From the beginning of her employment in February 2019, Ms. Thomas frequently worked

in excess of 40 hours per work week.

                                             18.

       In work weeks where Ms. Thomas worked in excess of 40 hours, she was paid at a rate of

$8.00 per hour for any hours over 40.

                                             19.

       From February 2019 through May 2019, there was nothing unusual about Ms. Thomas’

work environment, and her performance was exemplary.

                                             20.

       In May 2019, Defendant hired Michael Ponder (hereinafter, “House Manager Ponder”) as

a House Manager for the same residential facility in which Ms. Thomas was most often assigned.

                                             21.

       As a result of House Manager Ponder’s assignment, he became Ms. Thomas’ direct

supervisor.

                                             22.

       House Manager Ponder immediately began exhibiting inappropriate behavior toward Ms.

Thomas on a frequent and daily basis throughout the months of May and June 2019.




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                                             23.

       This behavior included when House Manager Ponder would make sexually suggestive

looks toward Ms. Thomas, including several occasions when he made eye contact with Ms.

Thomas and then moved his tongue across his lips in a sexual manner. On other occasions, House

Manager Ponder would wink at Ms. Thomas.

                                             24.

       On June 12, 2019, Ms. Thomas was working with one of the residents when she turned

around and caught House Manager Ponder clearly staring in the direction of her buttocks. When

the two individuals made eye contact, House Manager Ponder proceeded to wink his eye.

                                             25.

       On June 30, 2019 at approximately 10:00 pm, House Manager Ponder contacted Ms.

Thomas through a private message on Ms. Thomas’ account on a social media platform. The first

message was simply an image of a hand waiving and the second message was text reading, “Sorry..

I didn’t mean to waive at you!”

                                             26.

       Even assuming that House Manager Ponder’s first message was indeed unintentional, he

was not “friends” with Ms. Thomas on the social media platform, suggesting that he had been

viewing Ms. Thomas’ social media page when he inadvertently sent the message.

                                             27.

       This communication was unwelcomed by Ms. Thomas, and, as a result, she did not respond

to the messages.




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                                               28.

        In July 2019, House Manager Ponder began to send text messages to Ms. Thomas’ mobile

phone that were clearly unrelated to work.

                                               29.

        For example, on the evening of July 2, 2019, House Manager Ponder sent a text message

asking “Wyd,” which is a common text message initialism meaning “what’re you doing?”

                                               30.

        For the response that she sent to July 2nd message, House Manager Ponder clearly

understood that Ms. Thomas did not wish to engage in a discussion about non-work matters. Still,

he responded, “How was your day off? Lol why I have to need something to text? Maybe I wanted

to say hi.”

                                               31.

        On July 3, 2019, Ms. Thomas submitted a request for a personal day off to House Manager

Ponder. House Manager Ponder asked Ms. Thomas the reason she was asking for personal time

off and then suggested that, instead, he could take her for a picnic and cook for Ms. Thomas.

                                               32.

        Based on the aforementioned picnic comment, it became abundantly clear to Ms. Thomas

that her supervisor was making sexual advances toward her. As such, Ms. Thomas responded

saying that this conduct was inappropriate because House Manager Ponder was married and was

also Ms. Thomas’ supervisor.

                                               33.

        The House Manager responded to Ms. Thomas’ objection, stating that there was “nothing

wrong with two friends getting out and enjoying each other.” Ms. Thomas also perceived this




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comment as sexually suggestive.

                                                 34.

       In addition to frequent messages, House Manager Ponder would call Ms. Thomas. On one

occasion, Ms. Thomas was working an over-night shift when she received the call. When she tried

to end the conversation, the House Manager responded that they had “plenty of time to talk”

because it was an over-night shift with little to do.

                                                 35.

       Around this same time, Ms. Thomas learned that the House Manager had told several other

employees that Ms. Thomas was his “favorite.”

                                                 36.

       Another male coworker of Ms. Thomas told her that, based on the House Manager’s

conduct and behavior, it appeared that the House Manager was attracted to and liked Ms. Thomas.

                                                 37.

       Ms. Thomas became aware of allegations that the House Manager had displayed similar

behavior to several other female employees, both during his employment with Defendant and his

prior employer.

                                                 38.

       Ms. Thomas also became aware of another situation in which House Manager Ponder

offered to pay out of pocket for manicures and hair styling for another employee, and even invited

the same coworker to the House Manager’s home. This female coworker was a minor at the time.

                                                 39.

       Defendant had received several other complaints from its female employees about the

House Manager’s sexual harassment, but it failed to take any action.




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                                                40.

          The House Manager did not exhibit any similar conduct of a sexual nature toward

Defendant’s male employees.

                                                41.

          Although Ms. Thomas had previously resisted the House Manager’s sexual advances and

harassment, she attempted to make her rejections as clear as possible in early July 2019. From this

point, the House Manager’s conduct toward Ms. Thomas changed to being overtly hostile in

nature.

                                                42.

          For example, on several occasions soon thereafter, the House Manager began to target Ms.

Thomas by reducing the hours that he was scheduling her to work, and he even reassigned several

shifts that Ms. Thomas had been assigned.

                                                43.

          The House Manager also began threatening Ms. Thomas with disciplinary action.

                                                44.

          On July 21, 2019, Ms. Thomas felt as though she could no longer tolerate House Manager

Ponder’s treatment of her, and she asked to be transferred to a different facility with another

manager. Ms. Thomas’ requests were denied.

                                                45.

          On July 24, 2019, the House Manager caused Ms. Thomas to become upset when he

observed Ms. Thomas speaking on the telephone about work assignments and then demanded to

know to whom she was speaking. Ms. Thomas responded by telling the House Manager that, just

like with his prior employment, his conduct would result in Defendant terminating him as well.




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                                               46.

       After the July 24th incident, House Manager Ponder sent Ms. Thomas home, reassigned her

scheduled shifts, and issued her a written warning.

                                               47.

       On the morning of Friday, July 26, 2019, Ms. Thomas met with Defendant’s Vice

President, Richard Jacobs, and Ms. Thomas described how House Manager Ponder had made

sexual advances toward her and then took away hours when she resisted him.

                                               48.

       Ms. Thomas also reported House Manager Ponder’s conduct toward her underaged, female

coworker.

                                               49.

       The Vice President’s only reaction or response to Ms. Thomas’ complaints of harassment

was that he would talk to House Manager Ponder and let him know that he had made Ms. Thomas

feel “uncomfortable.” In response, Ms. Thomas explained how this behavior had gone beyond

making her uncomfortable, but was instead entirely inappropriate for the workplace.

                                               50.

       The Vice President acknowledges that Ms. Thomas reported the sexual harassment to him

in the July 26th conversation. He has also stated that he simply suggested that Ms. Thomas reach

out to the Human Resources Manager on Monday, July 29, 2019 when he returned to the office.

                                               51.

       Ms. Thomas disputes that the Vice President referred her to the Human Resources

Manager.




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                                                52.

        Even if the Vice President’s account were true, this would have violated Defendant’s

policies, which would have required the complaints to be brought immediately to the Human

Resources office by the Vice President.

                                                53.

        On the morning of Monday, July 29, 2020, Ms. Thomas attempted to contact Defendant’s

Chief Executive Officer via telephone to inform him of the harassment and retaliation. She was

told that the Chief Executive Officer was not in his office.

                                                54.

        On the morning of Monday, July 29, 2020, Ms. Thomas attempted to contact Defendant’s

Vice President via telephone to follow up about her complaint. He neither answered nor returned

the call.

                                                55.

        On the morning of Monday, July 29, 2020, Ms. Thomas also attempted to contact

Defendant’s Human Resources Manager via telephone to speak with him about the harassment

and retaliation, but she was unable to connect with him.

                                                56.

        Instead, on July 29, 2020, the Human Resources Manager made the decision to terminate

Ms. Thomas for violating Defendant’s policy when she contacted a supervisor on Friday at 8:08

pm to “call-out” for a shift that she had been scheduled to work on Saturday at 10:00 am.

                                                57.

        Defendant’s stated reason was not the real reason for its termination of Ms. Thomas.




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                                                58.

       Ms. Thomas was terminated for her opposition to the harassment that she had experienced

from her supervisor.

                                                59.

       According to Defendant’s policies, effective on May 17, 2019, an employee must contact

their supervisor no less than four (4) hours prior to the beginning of a scheduled shift in order to

be excused.

                                                60.

       Ms. Thomas contacted her supervisor approximately fourteen (14) hours before the

scheduled shift.

                             Procedural/Administrative Background

                                                61.

       On or about December 17, 2019, Ms. Thomas submitted her Charge of Discrimination to

the Equal Employment Opportunity Commission (hereinafter, “EEOC”) (Charge No. 410-2020-

02165).

                                                62.

       On September 8, 2020, Ms. Thomas received a Dismissal and Notice of Rights from the

EEOC, which was dated September 3, 2020 and postmarked on September 5, 2020.

                                  COUNT I:
                         HARASSMENT BASED ON SEX
              IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT

                                                63.

       Plaintiff hereby pleads and incorporates by reference all of the allegations contained in

Paragraphs 1 through 63, as if the same were set forth herein.




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                                                 64.

       Under Title VII of the Civil Rights Act, it is unlawful for an employer to discriminate

against or harass any of its employees on the basis of sex. See 42 U.S.C. § 2000e-2(a).

                                                 65.

       As alleged herein, Defendant and Plaintiff are a covered, non-exempt employer and

employee under Title VII, respectively. See 42 U.S.C. §§ 2000e & 2000e-1.

                                                 66.

       As alleged herein, Defendant, through the conduct of its employee Michael Ponder, (a)

subjected Plaintiff to harassment in the form of unwelcome verbal and physical conduct involving

and because of her sex, (b) the harassment affected a term or condition of Plaintiff’s employment

and had the purpose and effect of unreasonably interfering with the work environment and created

an intimidating, hostile, and offensive work environment, (c) not only was Plaintiff’s direct

supervisor responsible for the harassment, Defendant was on notice of this conduct and did nothing

to prevent it from occurring.

                                                 67.

       The harassment experienced by Plaintiff was severe, pervasive, abusive, hostile, and

unwelcome by Plaintiff and occurred because of her sex.

                                                 68.

       Defendant’s conduct as alleged herein constitutes harassment and hostile work

environment based on sex in violation of Title VII.




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                                                  69.

       Plaintiff has been injured by Defendant’s harassment of her based on her sex, and Plaintiff

is entitled to all damages allowed under Title VII of the Civil Rights Act, including back pay, front

pay and injunctive relief, compensatory and punitive damages at the statutory limit, and reasonable

attorney’s fees and costs of litigation, all in an amount to be proven at trial.

                                   COUNT II:
                                 RETALIATION
               IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT

                                                  70.

       Plaintiff hereby pleads and incorporates by reference all of the allegations contained in

Paragraphs 1 through 63, as if the same were set forth herein.

                                                  71.

       Under Title VII of the Civil Rights Act, it is unlawful for an employer to discriminate

against or harass any of its employees because an employee has opposed any practice made

unlawful by Title VII. 42 U.S.C. § 2000e-3(a).

                                                  72.

       As alleged herein, Defendant and Plaintiff are a covered, non-exempt employer and

employee under Title VII, respectively, See 42 U.S.C. §§ 2000e & 2000e-1.

                                                  73.

       During her employment with Defendant, Plaintiff’s supervisor subjected Plaintiff to

sexually-based conduct that was both severe and pervasive enough to change the working

conductions and unwelcomed by Plaintiff.




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                                               74.

        During her employment with Defendant, Plaintiff both observed and learned of her

supervisor subjecting other employees to sexually-based conduct that was both severe and

pervasive enough to change the working conductions and unwelcomed by the other employees.

                                               75.

        Plaintiff had a reasonable, good faith belief that her supervisor’s conduct was actionable

sexual harassment.

                                               76.

        Plaintiff’s supervisor’s conduct toward her and others was actionable sexual harassment.

                                               77.

        Plaintiff opposed her supervisor’s conduct by requesting that the supervisor cease the

behavior.

                                               78.

        Plaintiff opposed her supervisor’s conduct by reporting the conduct to an individual in

management.

                                               79.

        An employee who complains about the type of harassment alleged is opposing a practice

made unlawful by Title VII of the Civil Rights Act and is, therefore, engaged in a “protected

activity.”

                                               80.

        After Plaintiff opposed the harassment, she was subjected to materially adverse actions

from the same supervisor, such as being subjected to additional harassment, having her working




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hours reduced, and being subjected to disciplinary actions that had been fabricated by said

supervisor.

                                                  81.

       As alleged herein, the aforementioned adverse actions only began after Plaintiff opposed

her supervisor’s harassment. For this reason, amongst others, these adverse actions only occurred

because of Plaintiff’s participation in protected activities.

                                                  82.

       Three days after Plaintiff reported her supervisor’s harassment to management, she was

terminated.

                                                  83.

       Defendant’s conduct, as alleged, herein constitutes retaliation in violation of Title VII of

the Civil Rights Act.

                                                  84.

       Defendant is unable to articulate any legitimate, nondiscriminatory or nonretaliatory reason

for the conduct and Plaintiff will provide that Defendant’s stated reason for her termination was

merely pretextual for Defendant’s retaliatory animus.

                                                  85.

       Plaintiff has been injured by Defendant’s retaliation of her, and Plaintiff is entitled to all

damages allowed under Title VII of the Civil Rights Act, including back pay, front pay and

injunctive relief, compensatory and punitive damages at the statutory limit, and reasonable

attorney’s fees and costs of litigation, all in an amount to be proven at trial.




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                                  COUNT III:
                        FAILURE TO PAY OVERTIME PAY
                IN VIOLATION OF THE FAIR LABOR STANDARDS ACT

                                                 86.

       Plaintiff hereby pleads and incorporates by reference all of the allegations set forth in the

Statement of Facts, Paragraphs 1 through 63, as if the same were set forth herein.

                                                 87.

       Under the Fair Labor Standards Act, an employer must pay a rate of not less than one and

one-half times an employee’s regular rate for any time worked in excess of forty hours for any

given workweek. See 29 U.S.C. § 201(a)(1).

                                                 88.

       As alleged herein, Defendant and Plaintiff are covered, non-exempt employer and

employee under the Fair Labor Standards act, respectively. See 29 U.S.C. § 201(a)(1).

                                                 89.

       As alleged herein, from February 2019 through her termination in July 2019, Plaintiff

frequently worked in excess of forty hours per work week.

                                                 90.

       While Plaintiff was compensated for such hours worked over forty, she was compensated

at a rate that was one dollar ($1.00) less than her normal hourly rate.

                                                 91.

       Defendant’s conduct, as alleged herein, constitutes withholding and/or failing to provide

overtime pay in violation of the Fair Labor Standards Act.




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                                                92.

        Plaintiff has been injured by Defendant’s actions and is entitled to an award of unpaid

overtime compensation and all other damages allowed under the Fair Labor Standards Act, as well

as reasonable attorney’s fees and costs of litigation to be paid by Defendant pursuant to 29 U.S.C.

§ 216(b), in an amount to be proven at trial.

                                                93.

        As alleged herein, Defendant generally requires its employees to sign an agreement, which

purports to consent to the employee accepting overtime pay that is less than the employee’s

standard rate.

                                                94.

        This conduct suggests that Defendant has acted in bad faith and knew its actions were a

violation of the Fair Labor Standards Act, or otherwise that it did not have reasonable grounds to

be that its actions were not a violation of the Fair Labor Standards Act.

                                                95.

        This Court should exercise its sound discretion to award liquidated damages pursuant to

29 U.S.C. § 260, and should award to Plaintiff said liquidated damages in an amount equal to an

award for unpaid overtime compensation.

                                        JURY DEMAND

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands trial by

jury on all issues so triable.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Tranice Thomas respectfully prays for the following relief:




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       1)      That Summons and Process be issued to Defendant All Care Home Health, LLC,

and that said Defendant be served as provided by law;

       2)      That this matter be tried before a jury;

       3)      That judgment be awarded for and in favor of Plaintiff and against Defendant on

Count I for harassment based on sex in violation of Title VII of the Civil Rights Act, and grant

Plaintiff all relief allowable under said law;

       4)      That judgment be awarded for and in favor of Plaintiff and against Defendant on

Count II for retaliation for engaging in protected activities in violation of Title VII of the Civil

Rights Act, and grant Plaintiff all relief allowable under said law;

       5)      That judgment be awarded for and in favor of Plaintiff and against Defendant on

Count III for failure to pay overtime compensation in violation of the Fair Labor Standards Act,

and grant Plaintiff all relief allowable under said law, including liquidated damages;

       6)      For such other relief as this Court shall deem just and proper.

       Respectfully submitted, this 2nd day of December, 2020.



                                                   __________________________
                                                   KENNETH E. BARTON III
                                                   Georgia Bar No. 301171
                                                   MISHAEL K. NAJM
                                                   Georgia Bar No. 747961
                                                   Attorneys for Plaintiff
 COOPER, BARTON & COOPER, LLP
 170 College Street
 Macon, Georgia 31201
 (478) 841-9007 telephone
 (478) 841-9002 facsimile
 keb@cooperbarton.com
 mkn@cooperbarton.com




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